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                                                                     FILED
                                                                    07/05/2022
                                                              U.S. DISTRICT COURT
                                                            SOUTHERN DISTRICT OF INDIANA
                                                               Roger A.G. Sharpe, Clerk

                                           2:22-cv-00268-JPH-DLP
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